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                 Schedule A/B: Assets–Real and Personal Property 2IILFLDO)RUP$%
                 Schedule D: Creditors Who Have Claims Secured by Property 2IILFLDO)RUP'
                 Schedule E/F: Creditors Who Have Unsecured Claims 2IILFLDO)RUP()
                 Schedule G: Executory Contracts and Unexpired Leases 2IILFLDO)RUP*
                 Schedule H: Codebtors 2IILFLDO)RUP+
                 Summary of Assets and Liabilities for Non-Individuals 2IILFLDO)RUP6XP
                 $PHQGHGSchedule       $%()DQG*
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders 2IILFLDO)RUP
                 2WKHUGRFXPHQWWKDWUHTXLUHVDGHFODUDWLRQ

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                    Summary of Amendments Made to Schedules A/B, E/F and G



Amendments to Schedules A/B

      Schedule A/B, Section 3.1: amount in JP Morgan Chase Bank Account has been revised to
       $470,002.73.
      Schedule A/B, Section 55: additional leasehold interests held as of the Petition Date have been
       added.

Amendments to Schedules E/F

      The following creditors have been added to Schedule F:
           o Stephanie Buono, see Schedule F at 3.152
           o Suzanne Humbert, see Schedule F at 3.153
           o Rebecca Castillo, see Schedule F at 3.130

Amendments to Schedules G

      Five additional real property leases to which the Debtor was a party on the petition date have
       been added. Please note that these five leases were rejected pursuant to a Court order entered
       on January 20, 2022 as Docket No. 48.
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 Fill in this information to identify the case:

 Debtor name         Escada America, LLC

                                                    CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)         2:22-bk-10266-BB
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.         Cash on hand                                                                                                                         $50,031.82



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                         Last 4 digits of account
                                                                                                         number


            3.1.   JP Morgan Chase Bank                                     Corporate                    2890                                  $470,002.73




            3.2.   JP Morgan Chase Bank                                     Disbursement                 2906                                       $650.84




            3.3.   PNC Bank                                                                              6660                                             $0.00




            3.4.   JP Morgan Chase Bank                                     Store bank account           8498                                    $18,954.05




            3.5.   Bank of America, N.A.                                    Store bank account           7934                                    $26,740.34




            3.6.   Wells Fargo Bank                                         Store bank account           5553                                     $6,131.17


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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           3.7.    Bank of America, N.A.                                    Store bank account           1454                           $19,976.79




           3.8.    JP Morgan Chase Bank                                     Store bank account           8464                                 $0.00




           3.9.    Bank of America, N.A.                                    Store bank account           1467                           $14,064.20



           3.10
           .    Bank of Hawaii                                              Store bank account           4818                           $90,436.42



           3.11
           .    Bank of America, N.A.                                       Store bank account           1470                            $6,678.87



           3.12
           .    Bank of America N.A.                                        Store account                1483                             $139.92



           3.13
           .    Bank of America N.A.                                        Store account                1496                             $200.13



           3.14
           .    JP Morgan Chase Bank                                        Store bank account           6801                           $39,394.10



           3.15
           .    JP Morgan Chase Bank                                        Store bank account           8472                             $100.00



           3.16
           .    Wells Fargo Bank                                            Store bank account           5582                           $48,171.89



           3.17                                                             Main stores bank
           .    Bank of America, N.A.                                       account                      0768                          $119,842.98



           3.18
           .    Bank of America, N.A.                                       Store bank account           1808                             $386.00



           3.19
           .    Bank of America, N.A.                                       Store bank account           8678                           $39,792.86



           3.20
           .    Bank of America, N.A.                                       Store bank account           3252                           $13,860.89

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 2
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            3.21
            .    Citi Bank, N.A.                                            Main bank account                1929                        $7,278.61



            3.22
            .    Citi Bank,N.A.                                             lockbox                          1902                             $0.00



            3.23
            .    Citi Bank, N.A.                                            Payroll                          1937                       $10,000.00



            3.24
            .    Citi Bank, N.A                                             checking                         6608                             $0.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                     $982,834.61
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit
                     Security Deposit held by landlord American Commercial EquitiesThree LLC (Beverly
            7.1.     Hills Store Lease)                                                                                                 $60,000.00




            7.2.     Security Deposit held by landlord Going Places LLC (Chicago Store Lease)                                           $20,000.00



                     Deposit held by American Express as collateral for credit card processing & corporate
            7.3.     cards                                                                                                             $350,000.00



                     Deposit held by Fiserv (formerly First Data/BoA) as collateral for credit card processing
            7.4.     fees                                                                                                              $200,000.00



                     Sales tax deposit held by the Nevada Deparment of Taxation in connection with the Las
            7.5.     Vegas store opening                                                                                                $12,515.00




            7.6.     Deposit held by the City of West Palm Beach for three meters                                                         $880.00




            7.7.     Deposit held by Nevada Energy                                                                                        $920.00
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 3
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            7.8.     Various restricted letters of credit cash deposits. See Exhibit 7 hereto.                                             $2,752,842.53



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Creditors having a debit balance & miscellaneous prepaid expenses                                                       $267,601.90




 9.         Total of Part 2.                                                                                                           $3,664,759.43
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                                80,796.00   -                                0.00 = ....                 $80,796.00
                                              face amount                            doubtful or uncollectible accounts




            11b. Over 90 days old:                                    8,627.00   -                          8,627.00 =....                            $0.00
                                              face amount                            doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                              $80,796.00
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.
                                                                                                            Valuation method used   Current value of
                                                                                                            for current value       debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1
            Name of fund or stock:

 15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
            partnership, or joint venture
            Name of entity:                                               % of ownership


            15.1.     Interest in Escada Online US LLC                                 100          %                                           Unknown



 16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
            Describe:




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 17.       Total of Part 4.                                                                                                               $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Various pieces of office furniture                                           $2,191.43    Liquidation                               $0.00


           Various office fixtures                                                 $1,065,685.91     Liquidation                               $0.00


           Various office equipment                                                     $4,794.42    Liquidation                               $0.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                   $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 5
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     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Commercial real
                     property located at
                     6900 E. Camelback
                     Rd., Scottsdale, AZ
                     85251                                Leasehold                    Unknown                                            Unknown


           55.2.     Commercial real
                     property located at
                     222 Worth Avenue,
                     Palm Beach, FL
                     33480                                Leasehold                    Unknown                                            Unknown


           55.3.     Commercial real
                     property located at
                     693 FIfth Avenue, 6th
                     Fl, New York, NY
                     10022                                Leasehold                    Unknown                                            Unknown


           55.4.     Commercial real
                     property located at
                     1450 Ala Moana Blvd,
                     Honolulu, HI 96814                   Leasehold                    Unknown                                            Unknown


           55.5.     Commercial real
                     property located at
                     875 South Grnd
                     Central Pkwy, Las
                     Vegas, NV 89106                      Leasehold                    Unknown                                            Unknown


           55.6.     Commercial real
                     property located at
                     48650 Siminole Dr.,
                     Cabazon, CA 92230                    Leasehold                    Unknown                                            Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 6
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            55.7.    Commercial real
                     property located at
                     1800 Sawgrass Mills
                     Cir., Sunrise, FL
                     33323                                Leasehold                    Unknown                                             Unknown


            55.8.    Commercial real
                     property located at
                     347 Red Apple Ct,
                     Central Valley, NY
                     10917                                Leasehold                    Unknown                                             Unknown




 56.        Total of Part 9.                                                                                                            Unknown
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of        Valuation method used   Current value of
                                                                              debtor's interest        for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer lists                                                             Unknown                                             Unknown



 64.        Other intangibles, or intellectual property
            Computer software/point of sale system                                     Unknown         Liquidation                         $5,500.00



 65.        Goodwill

 66.        Total of Part 10.                                                                                                           $5,500.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
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             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                            Current value of
                                                                                                                            debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)
            Unused NOLs. However, a substantial portion of the
            unused NOLs is subject to a IRC 382 disallowance
            related to a prepetition acquisition.                                              Tax year '10 to '20               $58,100,725.00



 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims
            In the ordinary course of business the Debtor may have
            rights and set off claims vis-à-vis its creditors, and the
            absence of a specific listing here is neither a waiver nor
            an admission that they do not exist.                                                                                        Unknown
            Nature of claim
            Amount requested                                             $0.00



 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                  $58,100,725.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 8
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 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $982,834.61

 81. Deposits and prepayments. Copy line 9, Part 2.                                                             $3,664,759.43

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $80,796.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                    $5,500.00

 90. All other assets. Copy line 78, Part 11.                                                    +            $58,100,725.00

 91. Total. Add lines 80 through 90 for each column                                                       $62,834,615.04             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $62,834,615.04




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 9
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Exhibit 7 to Schedule A/B


Description of LOC Cash Deposits                Amount
2% cushion in collateral funds required to be
in account by JP Morgan Chase Bank                         $55,260.53
Cash deposit for Bond Department/Lexon
Insurance Company re US Custom
requierments                                              $350,000.00

Cash deposit for landlord of Costa Mesa
store                                                     $355,000.00
Bond Department/Lexon Insurance
Company                                                   $400,000.00
Cash deposit for Western Surety Company
re US Custom requierments                                $1,400,000.00

Cash deposit for landlord of NY store                     $192,582.00

TOTAL                                                    $2,752,842.53
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 Fill in this information to identify the case:

 Debtor name         Escada America, LLC

                                                    CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)          2:22-bk-10266-BB
                                                                                                                                               Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           California Employment Dev. Dept.                          Check all that apply.
           Bankruptcy Special Procedures                              Contingent
           Group                                                      Unliquidated
           PO Box 826880 MIC 92E
           Sacramento, CA 94280                                       Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Notice Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           California Franchise Tax Board                            Check all that apply.
           Bankruptcy Unit                                            Contingent
           PO Box 2952 MS-A340                                        Unliquidated
           Sacramento, CA 95812-2952
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           County of Los Angeles                                     Check all that apply.
           Dept. of Treasurer & Tax Collector                         Contingent
           P.O. Box 54027                                             Unliquidated
           Los Angeles, CA 90054-0027
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           Internal Revenue Service                                  Check all that apply.
           300 North Los Angeles Street                               Contingent
           Mail Stop 5027                                             Unliquidated
           Los Angeles, CA 90012
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $1,641.00
           693 Fifth Owner LLC                                                      Contingent
           PO Box          780522
           Philadelphia, PA 19178-0522
                                                                                    Unliquidated
           Date(s) debt was incurred
                                                                                    Disputed
           Last 4 digits of account number                                         Basis for the claim:     rent
                                                                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.           $5,055,143.00
           717 GFC LLC                                                              Contingent
           500 5th Avenue 54th Floor
           New York City, NY 10110
                                                                                    Unliquidated
           Date(s) debt was incurred
                                                                                    Disputed
           Last 4 digits of account number                                         Basis for the claim:     rent
                                                                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $450.00
           ABALON EXTERMINATING CO. INC.                                            Contingent
           261 FIFTH AVENUE SUITE 1504                                              Unliquidated
           New York, NY 10016                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     exterminator
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes




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 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $264,681.00
          Ala Moana Anchor Acquisition, LLC                                   Contingent
          PO Box         860375
          Minneapolis, MN 55486-0074
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    rent
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,198.00
          ALA MOANA CENTER ASSOCIATION                                        Contingent
          PO Box        29960
          HONOLULU, HI 96820
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    rent
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $278.00
          Alliance Pro Services LLC                                           Contingent
          239 Sneech Pond Bd                                                  Unliquidated
          Cumberland, RI 02864                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    plumbing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $348,375.00
          Alliant Insurance Services, Inc.                                    Contingent
          701 B St 6th Floor                                                  Unliquidated
          San Diego, CA 92101                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    insurance broker
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,988.00
          ALPINE BUSINESS SYSTEMS                                             Contingent
          1661 Route 22 West                                                  Unliquidated
          Bound Brook, PA 08805                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    dataserver support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $55.00
          Amanda Huang                                                        Contingent
          3870 Livermore Outlets Drive                                        Unliquidated
          Livermore, CA 94551                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    expense reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,341.00
          American Commercial Equities Three,                                 Contingent
          22917 Pacific Coast Highway,
          Malibu, CA 90265
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    rent
                                                                             Is the claim subject to offset?    No  Yes




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 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $59,401.00
          AMERICAN EXPRESS                                                    Contingent
          PO Box       1270                                                   Unliquidated
          NEWARK, NJ 07101-1270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    credit card and e-marketing fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $152.00
          Angel Tailor                                                        Contingent
          1311 Kapiolani Blvd Suite 209                                       Unliquidated
          Honolulu, HI 96814                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    misc general operating expenses
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,515.00
          Archive Systems, Inc.                                               Contingent
          PO Box          782998                                              Unliquidated
          Philadelphia, PA 19178-2998                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    doc storage
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $22,255.00
          ASA Cleaning Services Corp                                          Contingent
          102 Smoke Rise Drive                                                Unliquidated
          Warren, NJ 07059                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    cleaning services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $733.00
          Atlantic Broadband                                                  Contingent
          PO Box          5019                                                Unliquidated
          Carol Stream, IL 60197-5019                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    internet
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $78.00
          Atlantic Broadband                                                  Contingent
          PO Box          5019                                                Unliquidated
          Carol Stream, IL 60197-5019                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,649.00
          AVALARA INC                                                         Contingent
          DEPT.CH 16781                                                       Unliquidated
          PALATINE, IL 60055-6781                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    tax software
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $81,623.00
          Bal Harbour Shops LLLP                                              Contingent
          9700 Collins Avenue
          Bal Harbour, FL 33154
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    rent
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $2,546,815.33
          Beverly Hills Wilshire Hotel                                        Contingent
          9500 WILSHIRE BLVD
          BEVERLY HILLS, CA 90212
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    rent
                                                                             Is the claim subject to offset?    No     Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $598.00
          Blue Print AG                                                       Contingent
          Lindberghstra e 17                                                  Unliquidated
          Munchen, Germany 80939-0000                                         Disputed
          Germany
                                                                             Basis for the claim:    garbage/waste removal
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $941.00
          BOGUSLAW SANKOWSKI                                                  Contingent
          919 Michigan Avenue, 3rd Fl                                         Unliquidated
          Chicago, IL 60611                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    customer refund
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,480.00
          Borden Ladner Gervais, LLP                                          Contingent
          22 Adelaide St W, Bay Adelaide Ctr. E tw                            Unliquidated
          Toronto, ON M5H 4E3                                                 Disputed
          Canada
                                                                             Basis for the claim:    legal services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $274.00
          BUREAU OF ELEVATOR SAFETY                                           Contingent
                                                                              Unliquidated
          TALLAHASSEE, FL 32314-6300                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    elevator repair/certification
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $269.00
          Carlton Technologies, Inc                                           Contingent
          2336 112th Avenuevend*                                              Unliquidated
          Holland, MI 49424                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    printer service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $689.00
          CenturyLink                                                         Contingent
          PO Box         2961                                                 Unliquidated
          Phoenix, AZ 85062-2961                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    data network IT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $250,000.00
          CHETRIT 1412 LLC                                                    Contingent
          PO Box        785000
          PHILADELPHIA, PA 10018
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    rent
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $554,764.00
          Chicago Oak Street Partners, LLC                                    Contingent
          1343 N. Wells Street, Rear Bldg.
          Chicago, IL 60610
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    rent
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,960.00
          Cisco Systems Capital Corporation                                   Contingent
          PO Box          41602                                               Unliquidated
          Philadelphia, PA 19101-1602                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    copiers/printers
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,694.00
          Cision US, I                                                        Contingent
          PO Box          98869                                               Unliquidated
          Chicago, IL 60693-8869                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    marketing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,896.00
          CIT                                                                 Contingent
          21146 NETWORK PLACE                                                 Unliquidated
          Chicago, IL 60673-1211                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    equipment/leasing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $755.00
          CITY EXPEDITOR, INC.                                                Contingent
          286 5th Avenue                                                      Unliquidated
          New York, NY 10001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    logistics
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $275.00
          City of Beverly Hills                                               Contingent
          PO Box           548                                                Unliquidated
          Roseville, CA 95678-0548                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    local fee
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $388.00
          CITY OF WEST PALM BEACH                                             Contingent
          PO Box        30000                                                 Unliquidated
          TAMPA,, FL 33630-3000                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    license
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $81.00
          CLEANER'S SUPPLYS INC                                               Contingent
          1059 Powers Road                                                    Unliquidated
          Conklin, NY 13748                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    alteration supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,414.00
          CMS MECHANICAL SERVICE CO.                                          Contingent
          445 WEST DRIVE, #101                                                Unliquidated
          MELBOURNE, FL 32904                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    misc repairs
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $125.00
          Comcast Business                                                    Contingent
          PO Box          71211                                               Unliquidated
          Charlotte, NC 28272-1211                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    internet
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $110.00
          Comcast Business                                                    Contingent
          PO Box          71211                                               Unliquidated
          Charlotte, NC 28272-1211                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,776.00
          COMMONWEALTH EDISON                                                 Contingent
          PO Box          6112                                                Unliquidated
          Carol Stream, IL 60197-6112                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utility
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $617.00
          ComplyRight, Inc. dba HR Direct                                     Contingent
          PO Box         669390                                               Unliquidated
          Pompano Beach, FL 33066                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HR compliance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $21.00
          Computop GmbH                                                       Contingent
          Schwarzenbergstra e 4                                               Unliquidated
          Bamberg, Germany 96050-0000                                         Disputed
          Germany
                                                                             Basis for the claim:    IT desktop support
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,411.00
          Computop, Inc.                                                      Contingent
          300 East 42nd Street, 14th Floor                                    Unliquidated
          New York, NY 10017                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    computer equipment repair
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,430.00
          Concur Technologies Inc                                             Contingent
          62157 Collections Center Drive                                      Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    T&E software subscribtion/support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $23,300.00
          CONDE NAST PUBLICATIONS                                             Contingent
          PO Box         5350                                                 Unliquidated
          New York, NY 10087-5350                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    advertising
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $380.00
          Country Club Cleaners                                               Contingent
          500 Bollinger Canyon Way Ste A4                                     Unliquidated
          San Ramon, CA 94582                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    dry cleaning
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,910.00
          Crown Castle Fiber LLC                                              Contingent
          PO Box         27135                                                Unliquidated
          New York, NY 27135                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,952.00
          CT CORPORATION SYSTEM                                               Contingent
          PO Box          4349                                                Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    state filings service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $43,151.00
          Cushman and Wakefield                                               Contingent
          1290 Avenue of the Americas                                         Unliquidated
          New York, NY 10104
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    lease accounting services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,651.00
          Direct Construction Company Limited                                 Contingent
          50 Nashdene Rd., Unit 105                                           Unliquidated
          Scarborough, ON M1V 5J2                                             Disputed
          Canada
                                                                             Basis for the claim:    misc repairs
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $25.00
          Dutch Express, LLC                                                  Contingent
          13 West 38th Street - 3rd Floor                                     Unliquidated
          New York, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    logistics
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $60.00
          Eddie Love (Petty Cash)                                             Contingent
          3393 Peachtree Rd NE                                                Unliquidated
          Atlanta, GA 30326                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    expense reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,554.00
          El Paseo Collection North                                           Contingent
          73-061 El Paseo, Suite 200
          Palm Desert, CA 92260
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    rent
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $877.00
          Elaine Cohen                                                        Contingent
          10 West 66th Street, Apt 12B                                        Unliquidated
          New York, NY 10023                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    customer refund
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $240.00
          EXPRESS FIRE PROTECTION                                             Contingent
          PO Box       670041                                                 Unliquidated
          CORAL SPRINGS, FL 33067                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    fire safety
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $599.00
          Express Parking, Management, Inc.                                   Contingent
          1001 W. JASMINE DRIVE, SUITE N                                      Unliquidated
          LAKE PARK,, FL 33403-2119                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    store parking
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,066.00
          FANDL, LLC                                                          Contingent
          170 E. Ridgewood Ave. Suite 203                                     Unliquidated
          Ridgewood, NJ 07450                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    local business licenses
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,867.00
          FASHION LOGISTICS, INC.                                             Contingent
          621 ROUTE 46                                                        Unliquidated
          HASBROUCK HEIGHTS, NJ 07604                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    distribution/logistics
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $502.00
          Florida Pest Control                                                Contingent
          Suite 100 4140 SW 30th Avenue                                       Unliquidated
          Fort Lauderdale, FL 33312-6801                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,005.00
          FLORIDA POWER & LIGHT                                               Contingent
          GENERAL MAIL FACILITY                                               Unliquidated
          Miami, FL 33188-0001                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utility
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $615.00
          FRACHT FWO,INC                                                      Contingent
          50 Broadway                                                         Unliquidated
          Lynbrook NEW YORK, NY 11563                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    freight forwareder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,955.00
          Freecom Luxury Art Book, LLC                                        Contingent
          9550 Bay Harbor Terrace, Suite 201                                  Unliquidated
          Bal Harbour, FL 33154                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    advertising
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $820.00
          Frontier Communications                                             Contingent
          PO Box          740407                                              Unliquidated
          Cincinnati, OH 45274-0407                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    internet
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $38,565.00
          Funaro & co., P.C.                                                  Contingent
          350 Fifth Avenue, 41st Fl                                           Unliquidated
          New York, NY 10118
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    tax services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $100.00
          Fusion Cloud Company, LLC                                           Contingent
          PO Box         51538                                                Unliquidated
          Los Angeles, CA 90051-5838                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    IT related services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $22.00
          General Information Solutions, LLC                                  Contingent
          PO Box          841243                                              Unliquidated
          Dallas, TX 75284                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    IT services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,000.00
          Global Facility Management & Constr                                 Contingent
          525 Broadhollow Road, Suite 100                                     Unliquidated
          Melville, NY 11747                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    store improvements/minor construction services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,473.00
          Granite Telecommunications                                          Contingent
          Client ID311                                                        Unliquidated
          Boston, MA 02298-3119                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,701.00
          GRANT MCCARTHY GROUP LLC                                            Contingent
          777 WESTCHESTER AVENUE                                              Unliquidated
          WHITE PLAINS, NY 10604                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    misc tax advisory services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,302.00
          Green Peak Building Services, Inc                                   Contingent
          59 Rockledge Road, Suite 20                                         Unliquidated
          Bronxville, NY 10708                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    cleaning services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $310.00
          HAIG SERVICE CORPORATION                                            Contingent
          5601 POWERLINE RD, #303                                             Unliquidated
          FT LAUDERDALE, FL 33309-2831                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    fire security services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,575.00
          HAWAII MEDICAL SERVICE ASSOCIATION                                  Contingent
          PO Box        29330                                                 Unliquidated
          HONOLULU, HI 96820-1730                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    medical insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,055.00
          Hedy Bentel                                                         Contingent
          70-120 Chappel Road                                                 Unliquidated
          Rancho Mirage, CA 92270                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    misc general operating expenses
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,831.00
          Hospitality Services, Inc                                           Contingent
          244 Madison Avenue,                                                 Unliquidated
          New York, NY 10016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    catering services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,531.00
          HWS Informationssysteme GmbH                                        Contingent
          Wilhelmstr 2                                                        Unliquidated
          Neustadt an der Aisch, Germany 9141                                 Disputed
          Germany
                                                                             Basis for the claim:    IT services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $708.00
          IMPERIAL COMMERCIAL CLEANING                                        Contingent
          151 Dixon Avenue                                                    Unliquidated
          Amityville, NY 11701                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    dry cleaning
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,287.00
          IMPERIAL NETWORK GROUP INC                                          Contingent
          2800 Bruckner Blvd. Suite 303                                       Unliquidated
          Bronx, NY 10465                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    printing services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $389.00
          INGENIEURB RO RUCKPAUL &                                            Contingent
          WARSCHAUER STRASSE 70 A                                             Unliquidated
          BERLIN, Germany 10243-0000                                          Disputed
          Germany
                                                                             Basis for the claim:    architect
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $321.00
          Inter Trade Systems Inc                                             Contingent
          PO Box          55811                                               Unliquidated
          Boston, MA 02205-5811                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    IT customer catalogue
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $167.00
          INTERNATIONAL SILKS & WOOLENS                                       Contingent
          8347 BEVERLY BLVD.                                                  Unliquidated
          Los Angeles, CA 90048                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Misc general operating expense
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $761.00
          J.D Coins Inc.                                                      Contingent
          6770 INDIAN CREEK DR TSB                                            Unliquidated
          MIAMI BEACH, FL 33141                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    misc promotional related
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $387.00
          Jana Cori Coke                                                      Contingent
          127 E 9th Street, Suite 1003                                        Unliquidated
          Los Angeles, CA 90015                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    wardrobe consulting services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,404.00
          Jive Communications, Inc                                            Contingent
          PO Box        412252                                                Unliquidated
          Boston, MA 02241-2252                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $514.00
          JOHNSON CONTROLS FIRE PROTECTION                                    Contingent
          LP                                                                  Unliquidated
          Dept. CH 10320                                                      Disputed
          PALATINE, IL 60055-0320
                                                                             Basis for the claim:    services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $55,742.00
          Johnson Controls Security Solutions                                 Contingent
          PO Box          371994                                              Unliquidated
          Pittsburgh, PA 15250-7994                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    store security services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $174.00
          Joyce A. Pence                                                      Contingent
          8224 E. Monte Vista Road                                            Unliquidated
          Scottsdale, AZ 85257                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    misc general operating expenses
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,609.00
          Keter Environmental Services, Inc                                   Contingent
          PO Box         417468                                               Unliquidated
          Boston, MA 02241-7468                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utility
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $226.00
          Kim Murphy                                                          Contingent
          347 RED APPLE COURT                                                 Unliquidated
          CENTRAL VALLEY, NY 10917                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    employee expenses
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,975.00
          KUCKER MARINO WINIARSKY & BITTENS,                                  Contingent
          747 Third Avenue                                                    Unliquidated
          New York, NY 10017                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    legal services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $227.00
          LA MODELS                                                           Contingent
          7700 SUNSET BLVD.                                                   Unliquidated
          Los Angeles, CA 90046                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    fashion model
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $266,918.00
          Las Vegas North Outlets, LLC                                        Contingent
          875 South Grand Central Parkway, #1
          Las Vegas, NV 89106
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    rent
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $430.00
          Lea Journo Salon                                                    Contingent
          9500 Wilshire Blvd                                                  Unliquidated
          Beverly Hills, CA 90212                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    salon for event
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $653.00
          Madeline Ungar                                                      Contingent
          7825 Blue Water Drive                                               Unliquidated
          Las Vegas, NV 89128                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    comission 3rd party
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $341.00
          Mangia 57th Inc.                                                    Contingent
          50 West 57th Street                                                 Unliquidated
          New York, NY 10019                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    customer catering
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,609.00
          Margaret's Cleaners                                                 Contingent
          5150 Convoy Street                                                  Unliquidated
          San Diego, CA 92111                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    dry cleaner
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $70.00
          Mark-Alan Harmon                                                    Contingent
          10852 Fruitlad Drive                                                Unliquidated
          Studio City, CA 91604                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    expense reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $300.00
          MARY TANABE                                                         Contingent
          1484 KAWELOKA STREET                                                Unliquidated
          PEARL CITY,, HI 96782                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    real estate consulting services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $361.00
          Master Mechanical Services, Inc                                     Contingent
          15181 NW 33 Pl                                                      Unliquidated
          Miami, FL 33054                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    misc repairs
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $990.00
          Master Touch Cleaners, Inc.                                         Contingent
          1175 Baker Street, Suite A7                                         Unliquidated
          Costa Mesa, CA 92626                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    dry cleaner
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $212.00
          Melanie Theodoridis                                                 Contingent
          7 EAST 55TH STREET                                                  Unliquidated
          New York, NY 10022                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    employee expenses
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $65,087.00
          METROPOLITAN TELECOMM.                                              Contingent
          PO Box      9660                                                    Unliquidated
          MANCHESTER, NH 03108-9660                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    communications, telephone/data
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,227.00
          MI9 Retail - Raymark ULC                                            Contingent
          2020 Route Transcanadienne, #401                                    Unliquidated
          Dorval, QC H9P 2N4                                                  Disputed
          Canada
                                                                             Basis for the claim:    IT-POS system
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,456.00
          MILLENIUM SIGNS & DISPLAY, INC.                                     Contingent
          90 W GRAHAM AVENUE                                                  Unliquidated
          HEMPSTEAD,, NY 11550-6102                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    displays
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $467.00
          Modern Luxury                                                       Contingent
          PO Box          530206                                              Unliquidated
          Atlanta, GA 30353-0206                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    media/advertising
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,421.00
          Monika Arden                                                        Contingent
          9500 WILSHIRE BLVD                                                  Unliquidated
          BEVERLY HILLS, CA 90212                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    employee expenses
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,899.00
          Mood Media                                                          Contingent
          PO Box          71070                                               Unliquidated
          Charlotte, NC 28272-1070                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    in store music
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,035.00
          MR HANDYMAN OF CALIFORNIA                                           Contingent
          223 MISSISSIPPI STREET, #3                                          Unliquidated
          SAN FRANCISCO, CA 94107                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $31,690.00
          MUSE MANAGEMENT, INC                                                Contingent
          150 Broadway, #1101                                                 Unliquidated
          New York, NY 10038                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    fashion model agency
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $500.00
          Mutual Security Services, Inc                                       Contingent
          PO Box          3711                                                Unliquidated
          New York, NY 10008-3711                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    store security
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $275.00
          Nestle Waters North America                                         Contingent
          PO Box          856680                                              Unliquidated
          Louisvile, KY 40285-6680                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    water service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $251.00
          NVEnergy                                                            Contingent
          PO Box        30150                                                 Unliquidated
          RENO, NV 89520                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utility
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $165.00
          OCTAVIO PARRA                                                       Contingent
          1235 E 27TH STREET                                                  Unliquidated
          Los Angeles, CA 90011                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    misc general operating expense
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,098.00
          One Image Protection INC                                            Contingent
          Postal code      90670                                              Unliquidated
          Santa Fe Springs, NM 90670                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    copies/image creations
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $876.00
          ONE TIME VENDOR_Customer refund_                                    Contingent
          C.ICHIK                                                             Unliquidated
          1388 Ala Moana BLVD                                                 Disputed
          HONOLULU, HI 96814
                                                                             Basis for the claim:    customer refund
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,481.00
          Opentext                                                            Contingent
          9711 Washingtonian Blvd., Suite 700                                 Unliquidated
          Gaithersburg, MD 20878                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    IT EDI
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $44.00
          Oprandy's Fire & Safety Equipment                                   Contingent
          49 Brookline Avenue                                                 Unliquidated
          Middletown, NY 10940                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    fire safety
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,390.00
          Optimum                                                             Contingent
          PO Box          742698                                              Unliquidated
          Cincinnati, OH 45274-2698                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    internet
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $770.00
          OPTUS INC                                                           Contingent
          PO Box      2503                                                    Unliquidated
          JONESBORO, AR 72402                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    IT networking
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $700.00
          ORACLE ELEVATOR COMPANY                                             Contingent
          PO Box        636843                                                Unliquidated
          CINCINNATI, OH 45263-6843                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    elevator repair/certification
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $545.00
          ORKIN                                                               Contingent
          2257 Vista Parkway, Suite 5                                         Unliquidated
          WEST PALM BEACH,, FL 33411-2726                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $354.00
          Orkin , 875- N Houston Comm                                         Contingent
          15621 Blue Ash Drive                                                Unliquidated
          Houston, TX 77090                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $353.00
          Orkin Pest Control                                                  Contingent
          9505 NW 40th Street RD                                              Unliquidated
          Doral, FL 33178-2339                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $180.00
          PALM BEACH COUNTY                                                   Contingent
          PO Box      3353                                                    Unliquidated
          WEST PALM BEACH, FL 33402-3353                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    misc local fee
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $121.00
          PALM BEACH FIRE RESCUE                                              Contingent
          300 NORTH COUNTY ROAD                                               Unliquidated
          PALM BEACH, FL 33480                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    local service fee
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $828.00
          PITNEY BOWES GLOBAL                                                 Contingent
          PO Box          371887                                              Unliquidated
          Pittsburgh, PA 15250-7887                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    equipment maintenace
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,270.00
          PITNEY BOWES PURCHASE POWER                                         Contingent
          PO Box          371874                                              Unliquidated
          Pittsburgh, PA 15250-7874                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    printer
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $102,433.00
          Premium Outlet Partners LP                                          Contingent
          PO Box          822873
          Philadelphia, PA 19182-2873
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    rent
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $650.00
          Pyke Mechanical Inc.                                                Contingent
          9401 NW 106 St                                                      Unliquidated
          Miami, FL 33178                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    misc repairs
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $945.00
          QSCS OF NY, INC.                                                    Contingent
          212 WEST 35TH STREET, 15THFLOOR                                     Unliquidated
          New York, NY 10001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    fire alarm
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $636.00
          Ralph's Sewing and Vacuum                                           Contingent
          73-941 Highway 111                                                  Unliquidated
          Palm Desert, CA 92260                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    tailor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $188.00
          RAVE FABICARE INC.                                                  Contingent
          8490 E BUTHERUS DRIVE STE. 104                                      Unliquidated
          SCOTTSDALE, AZ 85260                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    dry cleaner
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Rebecca Castillo                                                    Contingent
          c/o Craig G. Côté
          20062 S.W. Birch St., Suite 200
                                                                              Unliquidated
          Newport Beach, CA 92660                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim: pending unruh civil rights claim asserted in an
          Last 4 digits of account number                                    amount not to exceed $24,999.00
                                                                             Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $17,167.00
          REGENCY ENTERPRISES INC                                             Contingent
          PO Box        102193                                                Unliquidated
          Pasadena, CA 91189-2193                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    electrician/lighting repair
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $363.00
          Reliable Products Supply                                            Contingent
          27 Wang Yip East Street, Room 307 3                                 Unliquidated
          Yuen Long, Hong Kong HK                                             Disputed
          Hong Kong
                                                                             Basis for the claim:    misc supplies/repair
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,083.00
          Runway Waiters                                                      Contingent
          1230 Horn Avenue, #416                                              Unliquidated
          Hollywood, CA 90069                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    catering
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $83.00
          RUSSIAN BAZAAR                                                      Contingent
          8518 17TH AVENUE,FL2                                                Unliquidated
          BROOKLYN, NY 11214                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    advertising
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $17,780.00
          Schaefer Trans. Inc.                                                Contingent
          PO Box          371461                                              Unliquidated
          Pittsburgh, PA 15250-7461                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    transport
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,241.00
          SCHINDLER ELEVATOR CORPORATION                                      Contingent
          PO Box          93050                                               Unliquidated
          Chicago, IL 60673-3050                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    elevator repair/certification
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,441.00
          SCM                                                                 Contingent
          5757 WILSHIRE BLVD STE. 210                                         Unliquidated
          Los Angeles, CA 90036                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    messengar service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $116,909.00
          Scottsdale Fashion Square LLC                                       Contingent
          PO Box         31001-2156
          Pasadena, CA 91110-2156
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    rent
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $14.00
          Sedgwick Claims Management                                          Contingent
          36392 Treasury Center                                               Unliquidated
          Chicago, IL 60694-6300                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    misc
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $556.00
          SEN Graphics, Inc.                                                  Contingent
          3125 Horseshoe Lane, Suite D                                        Unliquidated
          Charlotte, NC 28208                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    promotional sinage
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $980.00
          SEW GOOD                                                            Contingent
          #208 1411 S. King St.                                               Unliquidated
          HONOLULU, HI 96814                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    tailor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,335.00
          SHAROTTE BOUTIQUE                                                   Contingent
          1665 KALAKAUA AVE, 104                                              Unliquidated
          HONOLULU, HI 96826                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    misc
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $533.00
          SHIFT 4 CORPORATION                                                 Contingent
          1491 CENTER CROSSING RD                                             Unliquidated
          LAS VEGAS, NV 89144                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    IT/secure tokenization
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,572.00
          Simon Property Group LP                                             Contingent
          2696 Solution Center                                                Unliquidated
          Chicago, IL 60677-2006
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $462.00
          Sing Tao Newspapers New York LLC                                    Contingent
          188 Lafayette Street                                                Unliquidated
          New York, NY 10013                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    advertising
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $466.00
          Sirina Protection Systems                                           Contingent
          151 Herricks Rd. Suite 103                                          Unliquidated
          Garden City Park, NY 11040                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    security
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SoCalGas                                                            Contingent
          PO BOX C                                                            Unliquidated
          MONTEREY PARK, CA 91756                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,064.00
          SOUTH COAST PLAZA                                                   Contingent
          FILE NUMBER 54876
          Los Angeles, CA 90074-4876
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    rent
                                                                             Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,151.00
          SOUTHWEST SIGN COMPANY                                              Contingent
          1852 POMONA ROAD                                                    Unliquidated
          CORONA, CA 92878                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    maintenance sign replacement repair
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $274,232.00
          SPG HOUSTON HOLDINGS,LP                                             Contingent
          PO Box       822693
          PHILADELPHIA, PA 19182-2693
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    rent
                                                                             Is the claim subject to offset?    No  Yes




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 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,523.00
          St Moritz Security Services, Inc.                                   Contingent
          PO Box           5017                                               Unliquidated
          Greensburg, PA 15601-5017                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    security
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stephanie Buono                                                     Contingent
          Erica L. Shnayder, Esq.
          89 Headquarters Plaza N, Ste 1421
                                                                              Unliquidated
          Morristown, NJ 07960                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:    pending breach of settlement claim asserting
          Last 4 digits of account number                                    $35,000
                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Suzanne Humbert                                                     Contingent
          Anthony J. Vinhal, Esq
          60 Washington Street, Suite 300
                                                                              Unliquidated
          Morristown, NJ 07960                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: pending lawsuit for claim for severance/benefits
          Last 4 digits of account number                                    asserted in the amount of $300,960.00 (severance/benefits) +
                                                                             costs/fees + liquidated damages of up to 200% of her purported
                                                                             severance/benefits.
                                                                             Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $145,914.00
          Syzygy Performance GmbH                                             Contingent
          Osterwaldstra e 10                                                  Unliquidated
          Munchen, Germany 80805-0000                                         Disputed
          Germany
                                                                             Basis for the claim:    digital marketing services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,000.00
          T & G INDUSTRIES                                                    Contingent
          120 3rd Street                                                      Unliquidated
          Brooklyn, NY 11231                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    misc
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,603.00
          Talent Staff, LLC                                                   Contingent
          PO Box           1402                                               Unliquidated
          Spring, TX 77383                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HR recruiter
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,061.00
          TAMI HOGAN                                                          Contingent
          600 LIECHTY COURT                                                   Unliquidated
          HEATH, TX 75032                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    employee expenses
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 24 of 27
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 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $85.00
          TAX FREE SHOPPING, LTD                                              Contingent
          1512 Suite 100, Crescent Drive                                      Unliquidated
          Carrollton, TX 75006                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Texas tax free program
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $786.00
          The Epoch Times Association Inc.                                    Contingent
          229 W 28th St, 6th Flr                                              Unliquidated
          New York, NY 10001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    advertising sample sale
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $648.00
          THE JEWISH WEEK INC.                                                Contingent
          1501 Broadway, Suite 505                                            Unliquidated
          New York, NY 10036                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    advertising
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,352.00
          THOMPSON TAX & ASSOCIATES                                           Contingent
          PO Box       96                                                     Unliquidated
          WAVERLY, KS 66871                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    tax advisory services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,596.00
          THOMSON REUTERS                                                     Contingent
          PO Box        417175                                                Unliquidated
          Boston, MA 02241-7175                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    employee education
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,055.00
          THYSSEN KRUPP ELEVATOR                                              Contingent
          PO Box       933013                                                 Unliquidated
          ATLANTA, GA 31193-3013                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    elevator repair/certificaiton
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $55.00
          TOWN OF PALM BEACH                                                  Contingent
          PO Box       2029                                                   Unliquidated
          PALM BEACH, FL 33480                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    local service fee
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Escada America, LLC                                                                     Case number (if known)            2:22-bk-10266-BB
              Name

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,145.00
          UNITED HEALTH CARE JP MORGAN                                        Contingent
          131 S. DEARBORN, 6TH FL                                             Unliquidated
          Chicago, IL 60603                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    health insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $146.00
          UNITED PARCEL SERVICE                                               Contingent
          PO Box       7247-0244                                              Unliquidated
          PHILADELPHIA, PA 19170-0001                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    logistics
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $25.00
          UPS SUPPLY CHAIN SOLUTIONS, INC.                                    Contingent
          28013 NETWORK PLACE                                                 Unliquidated
          Chicago, IL 60673-1280                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    logistics
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $150.00
          VECTOR SECURITY INC                                                 Contingent
          PO Box         89462                                                Unliquidated
          Cleveland, OH 44101-6462                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    security
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $125.00
          VERIZON                                                             Contingent
          PO Box        5124                                                  Unliquidated
          ALBANY, NY 12212-5124                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utilties
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,917.00
          Verizon Wireless                                                    Contingent
          PO Box          408                                                 Unliquidated
          Newark, NJ 07101-0408                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utilities
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $585.00
          Wage Works, Inc.                                                    Contingent
          1100 Park Place 4th Floor                                           Unliquidated
          San Mateo, CA 94403                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    employee benefits
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.172     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $1,173.00
           WASTE MANAGEMENT                                                   Contingent
           PO Box          4648                                               Unliquidated
           Carol Stream, IL 60197-4648                                        Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    garbage/waste removal
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No  Yes
 3.173     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $108,024.00
           Woodbury Common Premium Outlets                                    Contingent
           PO Box          822884
           Philadelphia, PA 19182-2884
                                                                              Unliquidated
           Date(s) debt was incurred
                                                                              Disputed
           Last 4 digits of account number                                   Basis for the claim:    rent
                                                                             Is the claim subject to offset?     No  Yes
 3.174     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $1,343,149.00
           Worth-Pondfield LLC                                                Contingent
           c/o SAMSON MANAGEMENT CORP.
           97-77 QUEENS BLVD, SUITE 710
                                                                              Unliquidated
           REGO PARK, NY 11374                                                Disputed
           Date(s) debt was incurred                                         Basis for the claim:    rent
           Last 4 digits of account number                                   Is the claim subject to offset?     No  Yes
 3.175     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $258.00
           WWD                                                                Contingent
           PO Box          6356                                               Unliquidated
           Harlan, IA 51593-1856                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    subscription
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       Internal Revenue Service
           P.O. Box 21126                                                                             Line      2.4
           Philadelphia, PA 19114
                                                                                                            Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                             5a.         $                          0.00
 5b. Total claims from Part 2                                                                             5b.    +    $                 12,274,250.33

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                  5c.         $                    12,274,250.33




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 Fill in this information to identify the case:

 Debtor name         Escada America, LLC

                                                    CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)         2:22-bk-10266-BB
                                                                                                                                  Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.         State what the contract or                  RP Lease for lease of
              lease is for and the nature of              real property located at
              the debtor's interest                       693 Fifth Ave, 6th Fl,
                                                          New York, NY
                  State the term remaining                Term ends 5/31/29
                                                                                     693 Fifth Owner LLC
              List the contract number of any                                        530 Seventh Avenue
                    government contract                                              New York, NY 10018


 2.2.         State what the contract or                  RP Lease for lease of
              lease is for and the nature of              real property located at
              the debtor's interest                       1450 Ala Moana Blvd,
                                                          Honolulu, HI 96814
                  State the term remaining                Rejected
                                                                                     Ala Moana Anchor Acquisition LLC
              List the contract number of any                                        PO Box 860375
                    government contract                                              Minneapolis, MN 55486


 2.3.         State what the contract or                  Consignment
              lease is for and the nature of              Agreement
              the debtor's interest

                  State the term remaining
                                                                                     Escada Sourcing and Production LLC
              List the contract number of any                                        9720 Wilshire Blvd. 6th Floor
                    government contract                                              Beverly Hills, CA 90212


 2.4.         State what the contract or                  RP Lease for lease of
              lease is for and the nature of              real property located at
              the debtor's interest                       875 South Grand
                                                          Central Pkwy, Las
                                                          Vegas, NV
                                                          89106
                  State the term remaining                Rejected
                                                                                     Las Vegas North Outlets, LLC
              List the contract number of any                                        875 South Grand Central Parkway, #1
                    government contract                                              Las Vegas, NV 89106


Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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            Case 2:22-bk-10266-BB                             Doc 79 Filed 02/07/22 Entered 02/07/22 17:06:51                         Desc
                                                              Main Document    Page 41 of 41
 Debtor 1 Escada America, LLC                                                                  Case number (if known)   2:22-bk-10266-BB
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease


 2.5.        State what the contract or                   RP Lease for lease of
             lease is for and the nature of               real property located at
             the debtor's interest                        48650 Seminole Dr,
                                                          Cabazon, CA 92230
                  State the term remaining                Rejected
                                                                                       Premium Outlet Partners, L.P.
             List the contract number of any                                           PO Box 822873
                   government contract                                                 Philadelphia, PA 19182


 2.6.        State what the contract or                   RP Lease for lease of
             lease is for and the nature of               real property located
             the debtor's interest                        at1800 Sawgrass Mills
                                                          Cir, Sunrise, FL 33323
                  State the term remaining                Rejected                     Sawgrass Mills Phase IV, L.L.C.
                                                                                       225 W Washington St
             List the contract number of any                                           c/o M.S. Management Associates Inc.
                   government contract                                                 Indianapolis, IN 46204


 2.7.        State what the contract or                   RP Lease for lease of
             lease is for and the nature of               real property located at
             the debtor's interest                        6900 E Camelback Rd,
                                                          Scottsdale, AZ 85251
                  State the term remaining                Term ends 1/31/27
                                                                                       Scottsdale Fashion Square LLC
             List the contract number of any                                           PO Box 31001-25156
                   government contract                                                 Pasadena, CA 91110


 2.8.        State what the contract or                   RP Lease for lease of
             lease is for and the nature of               real property located at
             the debtor's interest                        347 Red Apple Ct,
                                                          Central Valley, NY
                                                          10917
                  State the term remaining                Rejected
                                                                                       Woodbury Common Premium Outlets
             List the contract number of any                                           PO Box 822884
                   government contract                                                 Philadelphia, PA 19182


 2.9.        State what the contract or                   RP Lease for lease of
             lease is for and the nature of               real property located at
             the debtor's interest                        222 Worth Ave, Palm
                                                          Beach, FL 33480
                  State the term remaining                Term ends 5/31/27
                                                                                       Worth-Pondfield LLC
             List the contract number of any                                           97-77 Queens Blvd, Suite 710
                   government contract                                                 Rego Park, NY 11374




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